      Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 1 of 78




SPECTOR GADON ROSEN VINCI P.C.                              Filed and Attested by the
By: Alan B. Epstein (Pa. I.D. No. 02346)                   Office of Judicial Records
      Adam A. Filbert (Pa. I.D. No. 330960)                     20 APR 2022 02:51 pm
1635 Market Street, 7 Floor
                     th                                                S. RICE
Philadelphia, PA 19103
(215) 241-8832 / (215) 531-9103 (Fax)
aepstein@sgrvlaw.com                   Attorneys for Plaintiff, Janet Monge


JANET MONGE                              CIVIL ACTION
106 Federal Street
Philadelphia, PA 19147                   NO.
           Plaintiff,
                                         JURY TRIAL DEMANDED
       v.

UNIVERSITY OF PENNSYLVANIA
2929 Walnut Street, Suite 400
Philadelphia, PA 19104

And

AMY GUTMANN, WENDELL
PRITCHETT, KATHLEEN
MORRISON, DEBORAH THOMAS,
& CHRISTOPHER WOODS
in their individual capacities,
c/o University of Pennsylvania
2929 Walnut Street, Suite 400
Philadelphia, PA 19104

And

PAUL MITCHELL
511 N. Broad St.
Philadelphia, PA 19123
and
c/o University of Pennsylvania
2929 Walnut Street, Suite 400
Philadelphia, PA 19104

And




                                                                        Case ID: 220401655
      Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 2 of 78




BILLY PENN
150 N. 6th St.
Philadelphia, PA 19106

And

MAYA CASUTTO,
in her individual capacity,
c/o Billy Penn
150 N. 6th St.
Philadelphia, PA 19106

And

THE PHILADELPHIA INQUIRER,
PBC
801 Market Street, Suite 300
Philadelphia, PA 19107

And

ABDUL ALIY MUHAMMAD &
JENICE ARMSTRONG
in their individual capacities,
c/o The Philadelphia Inquirer,
PBC
801 Market Street, Suite 300
Philadelphia, PA 19107

And

THE NEW YORKER
481 8th Avenue & 31st St,
New York, NY 10001

And

HEATHER ANN THOMPSON
in her individual capacity,
c/o The New Yorker
481 8th Avenue & 31st St,
New York, NY 10001




                                                                     Case ID: 220401655
      Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 3 of 78




And

ESPN, INC. d/b/a ANDSCAPE
545 Middle Street
Bristol, CT 06010

And

NICOLE FROIO & LINN
WASHINGTON
in their individual capacities,
c/o ESPN, INC.
545 Middle Street
Bristol, CT 06010

And

THE ASSOCIATION OF BLACK
ANTHROPOLOGISTS
2300 Clarendon Blvd., Suite
1301
Arlington, VA 22201

And

THE SOCIETY OF BLACK
ARCHAEOLOGISTS
PO Box 3771
Santa Monica, CA 90409

And

THE GUARDIAN MEDIA GROUP
d/b/a THE GUARDIAN
61 Broadway
New York, NY 10006

And

ED PILKINGTON
in his individual capacity,
c/o The Guardian
61 Broadway
New York, NY 10006




                                                                     Case ID: 220401655
      Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 4 of 78




And

DAILY MAIL AND GENERAL
TRUST, PLC d/b/a DAILY MAIL
51 Astor Place
New York, NY 10003

And

ADAM SCHRADER
in his individual capacity,
c/o Daily Mail
51 Astor Place
New York, NY 10003

AND

SLATE
15 Metrotech Center, 8th Floor
Brooklyn, NY 11201

AND

ELAIN AYERS
in her individual capacity,
c/o SLATE
15 Metrotech Center, 8th Floor
Brooklyn, NY 11201

And

NEW YORK POST
1211 Avenue of the Americas
New York, NY 10036

And

JACKSON O’ BRYAN
in his individual capacity,
c/o New York Post
1211 Avenue of the Americas
New York, NY 10036




                                                                     Case ID: 220401655
      Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 5 of 78




And

TEEN VOGUE
1 World Trade Center
New York, NY 10007

And

EZRA LERNER
in his individual capacity,
c/o Teen Vogue
1 World Trade Center
New York, NY 10007

And

HYPERALLERGIC MEDIA
181 N. 11th Street, Suite 302
Brooklyn, NY 11211

And

KINJAL DAVE & JAKE
NUSSBAUM
in their individual capacities,
c/o Hyperallergic Media
181 N. 11th Street, Suite 302
Brooklyn, NY 11211

And

SMITHSONIAN MAGAZINE
600 Maryland Avenue,
Southwest Suite 6001
Washington, DC 20024

And

NORA MCGREEVY
in her individual capacity,
c/o Smithsonian Magazine
600 Maryland Avenue,
Southwest Suite 6001




                                                                     Case ID: 220401655
      Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 6 of 78




Washington, DC 20024


And

AL DIA NEWS
1835 Market Street, 4th Floor
Philadelphia, PA 19103

And

BRITTANY VALENTINE
in her individual capacity,
c/o Al Dia News
1835 Market Street, 4th Floor
Philadelphia, PA 19103

            Defendants.


                 PRAECIPE TO ISSUE WRIT OF SUMMONS


TO THE PROTHONOTARY:

      Please issue a Writ of Summons in connection with the above-referenced

matter.

                                   Respectfully submitted,

                                   SPECTOR GADON ROSEN VINCI, P.C.


                                   /s/Alan B. Epstein
                                   Attorney for Plaintiff,
                                   Janet Monge
                                   1635 Market Street, 7th Floor
Date: April 20, 2022               Philadelphia, PA 19103




                                                                     Case ID: 220401655
                         Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 7 of 78                         Summons
                                                                                                                   Citacion

                                              Commonwealth of Pennsylvania
                                                 COUNTY OF PHILADELPHIA



          JANET MONGE                                        :       COURT OF COMMON PLEAS
          Plaintiff                                          :
                                                             :                       Term, 20
                                                             :
                                  vs.                        :
                                                             :       No.
                                                             :
          UNIVERSITY OF PENNSYLVANIA, et al.                 :
          Defendant



              To 1
              University of Pennsylvania
              2929 Walnut Street, Suite 400

              Philadelphia, PA 19104




                                                  Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                             ERIC FEDER
                                                             Director, Office of Judicial Records


                                                             By:
                                                                                                      220401655
                                                                                                    20 APR 2022 02:51 pm
                                                                                                          S. RICE
                                                             Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                      Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 8 of 78




                    Court of Common Pleas
                                        Term, 20

                                No.




                     JANET MONGE
                    Plaintiff
                                      vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                    Defendant




                                SUMMONS


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                                                   20 APR 2022 02:51 pm
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                                                                          Case ID: 220401655
                         Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 9 of 78                         Summons
                                                                                                                   Citacion

                                              Commonwealth of Pennsylvania
                                                 COUNTY OF PHILADELPHIA



          JANET MONGE                                        :       COURT OF COMMON PLEAS
          Plaintiff                                          :
                                                             :                       Term, 20
                                                             :
                                  vs.                        :
                                                             :       No.
                                                             :
          UNIVERSITY OF PENNSYLVANIA, et al.                 :
          Defendant



              To 1
              Amy Gutmann c/o University of PA
              2929 Walnut Street, Suite 400

              Philadelphia, PA 19104




                                                  Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                             ERIC FEDER
                                                             Director, Office of Judicial Records


                                                             By:
                                                                                                      220401655
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                                                             Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                      Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 10 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


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                                                                           Case ID: 220401655
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                                                                                                                         Citacion

                                                 Commonwealth of Pennsylvania
                                                        COUNTY OF PHILADELPHIA



          JANET MONGE                                              :       COURT OF COMMON PLEAS
          Plaintiff                                                :
                                                                   :                       Term, 20
                                                                   :
                                   vs.                             :
                                                                   :       No.
                                                                   :
          UNIVERSITY OF PENNSYLVANIA, et al.                       :
          Defendant



              To 1
              Wendell Pritchett, c/o University of PA
              2929 Walnut Street, Suite 400

              Philadelphia, PA 19104




                                                         Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                                   ERIC FEDER
                                                                   Director, Office of Judicial Records


                                                                   By:
                                                                                                            220401655
                                                                                                          20 APR 2022 02:51 pm
                                                                                                                S. RICE
                                                                   Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                            Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 12 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


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                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 13 of 78                               Summons
                                                                                                                         Citacion

                                                Commonwealth of Pennsylvania
                                                        COUNTY OF PHILADELPHIA



          JANET MONGE                                              :       COURT OF COMMON PLEAS
          Plaintiff                                                :
                                                                   :                       Term, 20
                                                                   :
                                  vs.                              :
                                                                   :       No.
                                                                   :
          UNIVERSITY OF PENNSYLVANIA, et al.                       :
          Defendant



              To 1
              Kathleen Morrison, c/o University of PA
              2929 Walnut Street, Suite 400

              Philadelphia, PA 19104




                                                         Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                                   ERIC FEDER
                                                                   Director, Office of Judicial Records


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                                                                   Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                            Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 14 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


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                                                    20 APR 2022 02:51 pm
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                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 15 of 78                            Summons
                                                                                                                      Citacion

                                              Commonwealth of Pennsylvania
                                                     COUNTY OF PHILADELPHIA



          JANET MONGE                                           :       COURT OF COMMON PLEAS
          Plaintiff                                             :
                                                                :                       Term, 20
                                                                :
                                  vs.                           :
                                                                :       No.
                                                                :
          UNIVERSITY OF PENNSYLVANIA, et al.                    :
          Defendant



              To 1
              Deborah Thomas, c/o University of PA
              2929 Walnut Street, Suite 400

              Philadelphia, PA 19104




                                                      Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                                ERIC FEDER
                                                                Director, Office of Judicial Records


                                                                By:
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                                                                Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                         Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 16 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
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                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 17 of 78                               Summons
                                                                                                                         Citacion

                                               Commonwealth of Pennsylvania
                                                        COUNTY OF PHILADELPHIA



          JANET MONGE                                              :       COURT OF COMMON PLEAS
          Plaintiff                                                :
                                                                   :                       Term, 20
                                                                   :
                                  vs.                              :
                                                                   :       No.
                                                                   :
          UNIVERSITY OF PENNSYLVANIA, et al.                       :
          Defendant



              To 1
              Christopher Woods, c/o University of PA
              2929 Walnut Street, Suite 400

              Philadelphia, PA 19104




                                                         Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                                   ERIC FEDER
                                                                   Director, Office of Judicial Records


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                                                                   Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                            Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 18 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
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                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 19 of 78                         Summons
                                                                                                                   Citacion

                                          Commonwealth of Pennsylvania
                                                COUNTY OF PHILADELPHIA



          JANET MONGE                                        :       COURT OF COMMON PLEAS
          Plaintiff                                          :
                                                             :                       Term, 20
                                                             :
                                 vs.                         :
                                                             :       No.
                                                             :
          UNIVERSITY OF PENNSYLVANIA, et al.                 :
          Defendant



              To 1
              Paul Mitchell
              511 N. Broad St.

              Philadelphia, PA 19123




                                                 Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                             ERIC FEDER
                                                             Director, Office of Judicial Records


                                                             By:
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                                                             Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                      Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 20 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                           Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 21 of 78                      Summons
                                                                                                                   Citacion

                                          Commonwealth of Pennsylvania
                                                COUNTY OF PHILADELPHIA



          JANET MONGE                                        :       COURT OF COMMON PLEAS
          Plaintiff                                          :
                                                             :                       Term, 20
                                                             :
                                  vs.                        :
                                                             :       No.
                                                             :
          UNIVERSITY OF PENNSYLVANIA, et al.                 :
          Defendant



              To 1
              Billy Penn
              150 N. 6th Street

              Philadelphia, PA 19106




                                                 Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                             ERIC FEDER
                                                             Director, Office of Judicial Records


                                                             By:
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10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                      Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 22 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 23 of 78                         Summons
                                                                                                                   Citacion

                                             Commonwealth of Pennsylvania
                                                COUNTY OF PHILADELPHIA



          JANET MONGE                                        :       COURT OF COMMON PLEAS
          Plaintiff                                          :
                                                             :                       Term, 20
                                                             :
                                  vs.                        :
                                                             :       No.
                                                             :
          UNIVERSITY OF PENNSYLVANIA, et al.                 :
          Defendant



              To 1
              Maya Casutto, c/o Billy Penn
              150 N. 6th Street

              Philadelphia, PA 19106




                                                 Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                             ERIC FEDER
                                                             Director, Office of Judicial Records


                                                             By:
                                                                                                      220401655
                                                                                                    20 APR 2022 02:51 pm
                                                                                                          S. RICE
                                                             Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                      Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 24 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 25 of 78                         Summons
                                                                                                                   Citacion

                                             Commonwealth of Pennsylvania
                                                COUNTY OF PHILADELPHIA



          JANET MONGE                                        :       COURT OF COMMON PLEAS
          Plaintiff                                          :
                                                             :                       Term, 20
                                                             :
                                  vs.                        :
                                                             :       No.
                                                             :
          UNIVERSITY OF PENNSYLVANIA, et al.                 :
          Defendant



              To 1
              The Philadelphia Inquirer
              801 Market Street, Suite 300

              Philadelphia, PA 19107




                                                 Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                             ERIC FEDER
                                                             Director, Office of Judicial Records


                                                             By:
                                                                                                      220401655
                                                                                                    20 APR 2022 02:51 pm
                                                                                                          S. RICE
                                                             Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                      Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 26 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


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                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 27 of 78                              Summons
                                                                                                                        Citacion

                                                 Commonwealth of Pennsylvania
                                                       COUNTY OF PHILADELPHIA



          JANET MONGE                                             :       COURT OF COMMON PLEAS
          Plaintiff                                               :
                                                                  :                       Term, 20
                                                                  :
                                   vs.                            :
                                                                  :       No.
                                                                  :
          UNIVERSITY OF PENNSYLVANIA, et al.                      :
          Defendant



              To 1
              Abdul Aliy-Muhammad, c/o Philadelphia
              Inquirer, 801 Market Street, Suite 300

              Philadelphia, PA 19107




                                                        Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                                  ERIC FEDER
                                                                  Director, Office of Judicial Records


                                                                  By:
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                                                                                                         20 APR 2022 02:51 pm
                                                                                                               S. RICE
                                                                  Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                           Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 28 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 29 of 78                              Summons
                                                                                                                        Citacion

                                                   Commonwealth of Pennsylvania
                                                       COUNTY OF PHILADELPHIA



          JANET MONGE                                             :       COURT OF COMMON PLEAS
          Plaintiff                                               :
                                                                  :                       Term, 20
                                                                  :
                                   vs.                            :
                                                                  :       No.
                                                                  :
          UNIVERSITY OF PENNSYLVANIA, et al.                      :
          Defendant



              To 1
              Jenice Armstrong, c/o Philadelphia
              Inquirer, 801 Market Street, Suite 300

              Philadelphia, PA 19107




                                                        Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                                  ERIC FEDER
                                                                  Director, Office of Judicial Records


                                                                  By:
                                                                                                           220401655
                                                                                                         20 APR 2022 02:51 pm
                                                                                                               S. RICE
                                                                  Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                           Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 30 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 31 of 78                         Summons
                                                                                                                   Citacion

                                             Commonwealth of Pennsylvania
                                                COUNTY OF PHILADELPHIA



          JANET MONGE                                        :       COURT OF COMMON PLEAS
          Plaintiff                                          :
                                                             :                       Term, 20
                                                             :
                                 vs.                         :
                                                             :       No.
                                                             :
          UNIVERSITY OF PENNSYLVANIA, et al.                 :
          Defendant



              To 1
              The New Yorker
              481 8th Avenue & 31st Street

              New York, NY 10001




                                                 Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                             ERIC FEDER
                                                             Director, Office of Judicial Records


                                                             By:
                                                                                                      220401655
                                                                                                    20 APR 2022 02:51 pm
                                                                                                          S. RICE
                                                             Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                      Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 32 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 33 of 78                            Summons
                                                                                                                      Citacion

                                               Commonwealth of Pennsylvania
                                                     COUNTY OF PHILADELPHIA



          JANET MONGE                                           :       COURT OF COMMON PLEAS
          Plaintiff                                             :
                                                                :                       Term, 20
                                                                :
                                  vs.                           :
                                                                :       No.
                                                                :
          UNIVERSITY OF PENNSYLVANIA, et al.                    :
          Defendant



              To 1
              Heather Ann Thompson, c/o The New
              Yorker, 481 8th Avenue & 31st Street

              New York, NY 10001




                                                      Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                                ERIC FEDER
                                                                Director, Office of Judicial Records


                                                                By:
                                                                                                         220401655
                                                                                                       20 APR 2022 02:51 pm
                                                                                                             S. RICE
                                                                Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                         Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 34 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 35 of 78                         Summons
                                                                                                                   Citacion

                                          Commonwealth of Pennsylvania
                                                COUNTY OF PHILADELPHIA



          JANET MONGE                                        :       COURT OF COMMON PLEAS
          Plaintiff                                          :
                                                             :                       Term, 20
                                                             :
                                  vs.                        :
                                                             :       No.
                                                             :
          UNIVERSITY OF PENNSYLVANIA, et al.                 :
          Defendant



              To 1
              ESPN, Inc. d/b/a Andscape
              545 Middle Street

              Bristol, CT 06010




                                                 Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                             ERIC FEDER
                                                             Director, Office of Judicial Records


                                                             By:
                                                                                                      220401655
                                                                                                    20 APR 2022 02:51 pm
                                                                                                          S. RICE
                                                             Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                      Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 36 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 37 of 78                         Summons
                                                                                                                   Citacion

                                             Commonwealth of Pennsylvania
                                                COUNTY OF PHILADELPHIA



          JANET MONGE                                        :       COURT OF COMMON PLEAS
          Plaintiff                                          :
                                                             :                       Term, 20
                                                             :
                                  vs.                        :
                                                             :       No.
                                                             :
          UNIVERSITY OF PENNSYLVANIA, et al.                 :
          Defendant



              To 1
              Nicole Froio, c/o ESPN, Inc.
              545 Middle Street

              Bristol, CT 06010




                                                 Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                             ERIC FEDER
                                                             Director, Office of Judicial Records


                                                             By:
                                                                                                      220401655
                                                                                                    20 APR 2022 02:51 pm
                                                                                                          S. RICE
                                                             Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                      Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 38 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 39 of 78                          Summons
                                                                                                                    Citacion

                                                Commonwealth of Pennsylvania
                                                   COUNTY OF PHILADELPHIA



          JANET MONGE                                         :       COURT OF COMMON PLEAS
          Plaintiff                                           :
                                                              :                       Term, 20
                                                              :
                                  vs.                         :
                                                              :       No.
                                                              :
          UNIVERSITY OF PENNSYLVANIA, et al.                  :
          Defendant



              To 1
              Linn Washington, c/o ESPN, Inc.
              545 Middle Street

              Bristol, CT 06010




                                                    Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                              ERIC FEDER
                                                              Director, Office of Judicial Records


                                                              By:
                                                                                                       220401655
                                                                                                     20 APR 2022 02:51 pm
                                                                                                           S. RICE
                                                              Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                       Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 40 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 41 of 78                                Summons
                                                                                                                          Citacion

                                                 Commonwealth of Pennsylvania
                                                         COUNTY OF PHILADELPHIA



          JANET MONGE                                               :       COURT OF COMMON PLEAS
          Plaintiff                                                 :
                                                                    :                       Term, 20
                                                                    :
                                  vs.                               :
                                                                    :       No.
                                                                    :
          UNIVERSITY OF PENNSYLVANIA, et al.                        :
          Defendant



              To 1
              The Association of Black Anthropologists
              2300 Clarendon Blvd., Suite 1301

              Arlington, VA 22201




                                                          Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                                    ERIC FEDER
                                                                    Director, Office of Judicial Records


                                                                    By:
                                                                                                             220401655
                                                                                                           20 APR 2022 02:51 pm
                                                                                                                 S. RICE
                                                                    Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                             Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 42 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 43 of 78                           Summons
                                                                                                                     Citacion

                                               Commonwealth of Pennsylvania
                                                    COUNTY OF PHILADELPHIA



          JANET MONGE                                          :       COURT OF COMMON PLEAS
          Plaintiff                                            :
                                                               :                       Term, 20
                                                               :
                                  vs.                          :
                                                               :       No.
                                                               :
          UNIVERSITY OF PENNSYLVANIA, et al.                   :
          Defendant



              To 1
              The Society of Black Archaeologists
              PO Box 3771

              Santa Monica, CA 90409




                                                     Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                               ERIC FEDER
                                                               Director, Office of Judicial Records


                                                               By:
                                                                                                        220401655
                                                                                                      20 APR 2022 02:51 pm
                                                                                                            S. RICE
                                                               Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                        Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 44 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 45 of 78                          Summons
                                                                                                                    Citacion

                                             Commonwealth of Pennsylvania
                                                   COUNTY OF PHILADELPHIA



          JANET MONGE                                         :       COURT OF COMMON PLEAS
          Plaintiff                                           :
                                                              :                       Term, 20
                                                              :
                                 vs.                          :
                                                              :       No.
                                                              :
          UNIVERSITY OF PENNSYLVANIA, et al.                  :
          Defendant



              To 1
              The Guardian Media Group d/b/a The
              Guardian, 61 Broadway

              New York, NY 10006




                                                    Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                              ERIC FEDER
                                                              Director, Office of Judicial Records


                                                              By:
                                                                                                       220401655
                                                                                                     20 APR 2022 02:51 pm
                                                                                                           S. RICE
                                                              Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                       Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 46 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 47 of 78                          Summons
                                                                                                                    Citacion

                                                Commonwealth of Pennsylvania
                                                   COUNTY OF PHILADELPHIA



          JANET MONGE                                         :       COURT OF COMMON PLEAS
          Plaintiff                                           :
                                                              :                       Term, 20
                                                              :
                                  vs.                         :
                                                              :       No.
                                                              :
          UNIVERSITY OF PENNSYLVANIA, et al.                  :
          Defendant



              To 1
              Ed Pilkington, c/o The Guardian
              61 Broadway

              New York, NY 10006




                                                    Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                              ERIC FEDER
                                                              Director, Office of Judicial Records


                                                              By:
                                                                                                       220401655
                                                                                                     20 APR 2022 02:51 pm
                                                                                                           S. RICE
                                                              Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                       Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 48 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 49 of 78                             Summons
                                                                                                                       Citacion

                                                   Commonwealth of Pennsylvania
                                                      COUNTY OF PHILADELPHIA



          JANET MONGE                                            :       COURT OF COMMON PLEAS
          Plaintiff                                              :
                                                                 :                       Term, 20
                                                                 :
                                  vs.                            :
                                                                 :       No.
                                                                 :
          UNIVERSITY OF PENNSYLVANIA, et al.                     :
          Defendant



              To 1
              Daily Mail and General Trust d/b/a
              Daily Mail, 51 Astor Place

              New York, NY 10003




                                                       Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                                 ERIC FEDER
                                                                 Director, Office of Judicial Records


                                                                 By:
                                                                                                          220401655
                                                                                                        20 APR 2022 02:51 pm
                                                                                                              S. RICE
                                                                 Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                          Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 50 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 51 of 78                         Summons
                                                                                                                   Citacion

                                              Commonwealth of Pennsylvania
                                                 COUNTY OF PHILADELPHIA



          JANET MONGE                                        :       COURT OF COMMON PLEAS
          Plaintiff                                          :
                                                             :                       Term, 20
                                                             :
                                 vs.                         :
                                                             :       No.
                                                             :
          UNIVERSITY OF PENNSYLVANIA, et al.                 :
          Defendant



              To 1
              Adam Schrader, c/o Daily Mail
              51 Astor Place

              New York, NY 10003




                                                  Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                             ERIC FEDER
                                                             Director, Office of Judicial Records


                                                             By:
                                                                                                      220401655
                                                                                                    20 APR 2022 02:51 pm
                                                                                                          S. RICE
                                                             Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                      Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 52 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 53 of 78                         Summons
                                                                                                                   Citacion

                                               Commonwealth of Pennsylvania
                                                  COUNTY OF PHILADELPHIA



          JANET MONGE                                        :       COURT OF COMMON PLEAS
          Plaintiff                                          :
                                                             :                       Term, 20
                                                             :
                                   vs.                       :
                                                             :       No.
                                                             :
          UNIVERSITY OF PENNSYLVANIA, et al.                 :
          Defendant



              To 1
              Slate
              15 Metrotech Center, 8th Floor

              Brooklyn, NY 11201




                                                   Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                             ERIC FEDER
                                                             Director, Office of Judicial Records


                                                             By:
                                                                                                      220401655
                                                                                                    20 APR 2022 02:51 pm
                                                                                                          S. RICE
                                                             Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                      Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 54 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                         Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 55 of 78                        Summons
                                                                                                                   Citacion

                                               Commonwealth of Pennsylvania
                                                  COUNTY OF PHILADELPHIA



          JANET MONGE                                        :       COURT OF COMMON PLEAS
          Plaintiff                                          :
                                                             :                       Term, 20
                                                             :
                                   vs.                       :
                                                             :       No.
                                                             :
          UNIVERSITY OF PENNSYLVANIA, et al.                 :
          Defendant



              To 1
              Elain Ayers, c/o Slate
              15 Metrotech Center, 8th Floor

              Brooklyn, NY 11201




                                                   Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                             ERIC FEDER
                                                             Director, Office of Judicial Records


                                                             By:
                                                                                                      220401655
                                                                                                    20 APR 2022 02:51 pm
                                                                                                          S. RICE
                                                             Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                      Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 56 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 57 of 78                         Summons
                                                                                                                   Citacion

                                            Commonwealth of Pennsylvania
                                                COUNTY OF PHILADELPHIA



          JANET MONGE                                        :       COURT OF COMMON PLEAS
          Plaintiff                                          :
                                                             :                       Term, 20
                                                             :
                                 vs.                         :
                                                             :       No.
                                                             :
          UNIVERSITY OF PENNSYLVANIA, et al.                 :
          Defendant



              To 1
              New York Post
              1211 Avenue of the Americas

              New York, NY 10036




                                                 Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                             ERIC FEDER
                                                             Director, Office of Judicial Records


                                                             By:
                                                                                                      220401655
                                                                                                    20 APR 2022 02:51 pm
                                                                                                          S. RICE
                                                             Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                      Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 58 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 59 of 78                          Summons
                                                                                                                    Citacion

                                              Commonwealth of Pennsylvania
                                                   COUNTY OF PHILADELPHIA



          JANET MONGE                                         :       COURT OF COMMON PLEAS
          Plaintiff                                           :
                                                              :                       Term, 20
                                                              :
                                 vs.                          :
                                                              :       No.
                                                              :
          UNIVERSITY OF PENNSYLVANIA, et al.                  :
          Defendant



              To 1
              Jackson O'Bryan, c/o New York Post
              1211 Avenue of the Americas

              New York, NY 10036




                                                    Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                              ERIC FEDER
                                                              Director, Office of Judicial Records


                                                              By:
                                                                                                       220401655
                                                                                                     20 APR 2022 02:51 pm
                                                                                                           S. RICE
                                                              Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                       Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 60 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 61 of 78                         Summons
                                                                                                                   Citacion

                                          Commonwealth of Pennsylvania
                                                COUNTY OF PHILADELPHIA



          JANET MONGE                                        :       COURT OF COMMON PLEAS
          Plaintiff                                          :
                                                             :                       Term, 20
                                                             :
                                 vs.                         :
                                                             :       No.
                                                             :
          UNIVERSITY OF PENNSYLVANIA, et al.                 :
          Defendant



              To 1
              Teen Vogue
              1 World Trade Center

              New York, NY 10007




                                                 Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                             ERIC FEDER
                                                             Director, Office of Judicial Records


                                                             By:
                                                                                                      220401655
                                                                                                    20 APR 2022 02:51 pm
                                                                                                          S. RICE
                                                             Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                      Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 62 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 63 of 78                         Summons
                                                                                                                   Citacion

                                            Commonwealth of Pennsylvania
                                                COUNTY OF PHILADELPHIA



          JANET MONGE                                        :       COURT OF COMMON PLEAS
          Plaintiff                                          :
                                                             :                       Term, 20
                                                             :
                                 vs.                         :
                                                             :       No.
                                                             :
          UNIVERSITY OF PENNSYLVANIA, et al.                 :
          Defendant



              To 1
              Ezra Lerner, c/o Teen Vogue
              1 World Trade Center

              New York, NY 10007




                                                 Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                             ERIC FEDER
                                                             Director, Office of Judicial Records


                                                             By:
                                                                                                      220401655
                                                                                                    20 APR 2022 02:51 pm
                                                                                                          S. RICE
                                                             Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                      Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
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                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
                        Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 65 of 78                         Summons
                                                                                                                   Citacion

                                              Commonwealth of Pennsylvania
                                                 COUNTY OF PHILADELPHIA



          JANET MONGE                                        :       COURT OF COMMON PLEAS
          Plaintiff                                          :
                                                             :                       Term, 20
                                                             :
                                    vs.                      :
                                                             :       No.
                                                             :
          UNIVERSITY OF PENNSYLVANIA, et al.                 :
          Defendant



              To 1
              Hyperallergic Media
              181 N. 11th Street, Suite 302

              Brooklyn, NY 11211




                                                  Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                             ERIC FEDER
                                                             Director, Office of Judicial Records


                                                             By:
                                                                                                      220401655
                                                                                                    20 APR 2022 02:51 pm
                                                                                                          S. RICE
                                                             Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                      Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
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                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
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                                                                                                                      Citacion

                                               Commonwealth of Pennsylvania
                                                     COUNTY OF PHILADELPHIA



          JANET MONGE                                           :       COURT OF COMMON PLEAS
          Plaintiff                                             :
                                                                :                       Term, 20
                                                                :
                                   vs.                          :
                                                                :       No.
                                                                :
          UNIVERSITY OF PENNSYLVANIA, et al.                    :
          Defendant



              To 1
              Kinjal Dave, c/o Hyperallergic Media
              181 N. 11th Street, Suite 302

              Brooklyn, NY 11211




                                                      Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                                ERIC FEDER
                                                                Director, Office of Judicial Records


                                                                By:
                                                                                                         220401655
                                                                                                       20 APR 2022 02:51 pm
                                                                                                             S. RICE
                                                                Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                         Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
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                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
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                                                                                                                        Citacion

                                              Commonwealth of Pennsylvania
                                                       COUNTY OF PHILADELPHIA



          JANET MONGE                                             :       COURT OF COMMON PLEAS
          Plaintiff                                               :
                                                                  :                       Term, 20
                                                                  :
                                   vs.                            :
                                                                  :       No.
                                                                  :
          UNIVERSITY OF PENNSYLVANIA, et al.                      :
          Defendant



              To 1
              Jake Nussbaum, c/o Hyperallergic Media
              181 N. 11th Street, Suite 302

              Brooklyn, NY 11211




                                                        Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                                  ERIC FEDER
                                                                  Director, Office of Judicial Records


                                                                  By:
                                                                                                           220401655
                                                                                                         20 APR 2022 02:51 pm
                                                                                                               S. RICE
                                                                  Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                           Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
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                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
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                                                                           Case ID: 220401655
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                                                                                                                    Citacion

                                             Commonwealth of Pennsylvania
                                                   COUNTY OF PHILADELPHIA



          JANET MONGE                                         :       COURT OF COMMON PLEAS
          Plaintiff                                           :
                                                              :                       Term, 20
                                                              :
                                 vs.                          :
                                                              :       No.
                                                              :
          UNIVERSITY OF PENNSYLVANIA, et al.                  :
          Defendant



              To 1
              Smithsonian Magazine
              600 Maryland Avenue, SW Suite 6001

              Washington, DC 20024




                                                    Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                              ERIC FEDER
                                                              Director, Office of Judicial Records


                                                              By:
                                                                                                       220401655
                                                                                                     20 APR 2022 02:51 pm
                                                                                                           S. RICE
                                                              Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                       Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
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                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
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                                                                                                                    Citacion

                                             Commonwealth of Pennsylvania
                                                   COUNTY OF PHILADELPHIA



          JANET MONGE                                         :       COURT OF COMMON PLEAS
          Plaintiff                                           :
                                                              :                       Term, 20
                                                              :
                                 vs.                          :
                                                              :       No.
                                                              :
          UNIVERSITY OF PENNSYLVANIA, et al.                  :
          Defendant



              To 1
              Nora McGreevy c/o Smithsonian Magazine
              600 Maryland Avenue, SW Suite 6001

              Washington, DC 20024




                                                       Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                              ERIC FEDER
                                                              Director, Office of Judicial Records


                                                              By:
                                                                                                       220401655
                                                                                                     20 APR 2022 02:51 pm
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                                                              Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                       Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
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                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


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                                                                                                                   Citacion

                                              Commonwealth of Pennsylvania
                                                 COUNTY OF PHILADELPHIA



          JANET MONGE                                        :       COURT OF COMMON PLEAS
          Plaintiff                                          :
                                                             :                       Term, 20
                                                             :
                                  vs.                        :
                                                             :       No.
                                                             :
          UNIVERSITY OF PENNSYLVANIA, et al.                 :
          Defendant



              To 1
              Al Dia News
              1835 Market Street, 4th Floor

              Philadelphia, PA 19103




                                                  Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                             ERIC FEDER
                                                             Director, Office of Judicial Records


                                                             By:
                                                                                                      220401655
                                                                                                    20 APR 2022 02:51 pm
                                                                                                          S. RICE
                                                             Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                      Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 76 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


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                                                                           Case ID: 220401655
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                                                                                                                    Citacion

                                               Commonwealth of Pennsylvania
                                                   COUNTY OF PHILADELPHIA



          JANET MONGE                                         :       COURT OF COMMON PLEAS
          Plaintiff                                           :
                                                              :                       Term, 20
                                                              :
                                  vs.                         :
                                                              :       No.
                                                              :
          UNIVERSITY OF PENNSYLVANIA, et al.                  :
          Defendant



              To 1
              Brittany Valenine, c/o Al Dia News
              1835 Market Street, 4th Floor

              Philadelphia, PA 19103




                                                    Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              Janet Monge




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                              ERIC FEDER
                                                              Director, Office of Judicial Records


                                                              By:
                                                                                                       220401655
                                                                                                     20 APR 2022 02:51 pm
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                                                              Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                       Case ID: 220401655
          2
              Name(s) of Plaintiff(s)
Case 2:22-cv-02942-GEKP Document 1-1 Filed 07/27/22 Page 78 of 78




                     Court of Common Pleas
                                         Term, 20

                                 No.




                     JANET MONGE
                     Plaintiff
                                       vs.

                     UNIVERSITY OF PENNSYLVANIA, et al.
                     Defendant




                                 SUMMONS


                                                      220401655
                                                    20 APR 2022 02:51 pm
                                                          S. RICE




                                                                           Case ID: 220401655
